Gmail - Jenna Rya , et al v. PayPal                     https://mail.google.com/mail/u/2/?ik=f14031782d&view=pt&seaicl
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                 Gmail                               Jenna Ryan <jennaryanrealty@gmail.com>


        Jenna Ryan, et al v. PayPal
                                                                               Wed, Jul 26, 2023 at 3:58
        Josh Dixon (Liberty Center) <JDixon@libertycenter.org>
                                                                                                             PM
        To: "jennaryanrealty@gmail.com" <jennaryanrealty@gmail.com>


          Jenna,




          Good afternoon. I am the Director of Litigation for the Center of American Liberty, the
          litigation non-profit that Harmeet founded. Harmeet previously forwarded me your
          email below. I m writing to follow up on your inquiry. I’m sorry to report that the
          Center for American Liberty is not able to represent you in this matter. Please feel
          free to contact me if you have any questions.



          Thanks,



          Josh Dixon, Esq.

          Director of Litigation

          Center for American Liberty

          (703) 687-6200



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